
PER CURIAM.
Appellant was adjudicated delinquent for committing the offenses of trespass on school grounds and obstructing an officer without violence. The Department of Juvenile Justice had filed a predisposition report recommending Appellant be placed on community control, but the trial court rejected the recommendation and imposed a high risk commitment without receiving a further recommendation from the Department as to a restrictiveness level. This was error. In S.R. v. State, 683 So.2d 576 (Fla. 1st DCA 1996), we held that “section 39.052(4)(e)2, Florida Statutes, unequivocally requires the court to receive and consider a recommendation from the Department as to restrictiveness level before ordering a commitment.” Consequently, we reverse the order of commitment and remand the case for further proceedings consistent with this opinion.
Reversed and Remanded.
WEBSTER, LAWRENCE and PADOVANO, JJ., concur.
